           Case 1:22-cr-00181-JEB Document 8 Filed 05/23/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :      CASE NO.:
                                             :
               v.                            :      MAGISTRATE NO.: 22-mj-106
                                             :
DOUGLAS FARQUHAR MACRAE,                     :      VIOLATIONS:
                                             :
                                             :      18 U.S.C. § 1752(a)(1)
                                             :      (Entering and Remaining in a Restricted
                                             :      Building or Grounds)
                      Defendant.             :
                                             :      18 U.S.C. § 1752(a)(2)
                                             :      (Disorderly and Disruptive Conduct in a
                                             :       Restricted Building or Grounds)
                                             :
                                             :      40 U.S.C. § 5104(e)(2)(D)
                                             :      (Disorderly Conduct on Capitol Grounds)
                                             :
                                             :      40 U.S.C. § 5104(e)(2)(G)
                                             :      (Parading, Demonstrating, or Picketing in
                                             :      any of the Capitol Buildings)


                                     INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, DOUGLAS FARQUHAR

MACRAE, knowingly entered and remained in the United States Capitol, a restricted building,

without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
           Case 1:22-cr-00181-JEB Document 8 Filed 05/23/22 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, DOUGLAS FARHUQAR

MACRAE, knowingly, and with intent to impede and disrupt the orderly conduct of Government

business and official functions, engaged in disorderly and disruptive conduct in, and within such

proximity to, the United States Capitol, a restricted building, when, and so that, such conduct did

in fact impede and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, within the District of Columbia, DOUGLAS FARQUHAR

MACRAE, willfully and knowingly engaged in disorderly and disruptive conduct in any of the

Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session

of Congress or either House of Congress.

       (Disorderly Conduct on Capitol Grounds, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




                                                2
          Case 1:22-cr-00181-JEB Document 8 Filed 05/23/22 Page 3 of 3




                                      COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, DOUGLAS FARQUHAR

MACRAE, willfully and knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in any of the Capitol Buildings, in violation of
       Title 40, United States Code, Section 5104(e)(2)(G))


                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  D.C. Bar No. 481052

                                             By: /s/ Ashley Akers
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